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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS
Civil Action Nos`.i
01-CV-10408-RCL
01-CV-10433-RCL
01-CV~11346-RCL
02-CV-l()464-RCL
02-CV-11312-RCL
02-CV-11791-RCL
OZ-CV-l 1802-RCL
02-CV~11911-RCL

EST. OF JOHN MclNTYRE, et al,
EST. OF MICHAEL DONAHUE, et al,
EST. OF E. BRIAN HALLORAN, et al,
EST. OF ROGER`WHEELER, et al,
EST. OF RICHARD CASTUCCI, et al,
EST. OF LOUIS LITIF, et al,
EST. OF WILLIAM BENNETT, et al
EST. OF DEBRA DAVIS, et al.
Plaintiffs,

V.

UNITED STATES OF AMERICA, et al,
Defendants.

EMERGENCY MOTION OF THE PLAINTIFFS FOR ORDER COMPELLING
IMMEDIATE PRODUCTION OF CERTAIN DISCRETE CATEGORIES OF
DOCUMENTS RELEVANT TO UPCOMING DEPOSITIONS AND TO EXTEND
OUALIFIED IMMUNITY DISCOVERY

NOW COME the plaintiffs and hereby move this Honorable Court on an emergency
basis for an Order compelling the defendant United States to produce, on or before April 11,
2003, certain discrete categories of documents relevant to two upcoming depositions, which are
currently scheduled for April 14 and 15, 2003. A proposed order listing the documents requested
on an emergent basis is attached hereto as Exhibit A. The plaintiffs also seek an order extending
the period for qualified immunity discovery (as defined by the October 29, 2002 Order of this
Court) for a reasonable time after a decision is rendered by this Court on the United States’
Motion for a Protective Order, filed with respect to the Joint Request of the Plaintiffs for the

Production of Documents (Fed. R. Civ. P. 34). A proposed order on extension of time is

attached hereto as Exhibit B. As reasons in support, the plaintiffs state as follows:

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l) On October 29, 2002, this Court (Lindsay, D.J.) ordered the opening ofa period of
discovery on the “common issues” of the above-captioned related civil cases, with this qualified
immunity discovery period ending May 1, 2003. See Donahue v. United States et al, 01-CV-

lO433-RCL (Paper # 97) (the “10/29/02 Order”).

2) On November 22, 2002, the plaintiffs filed a Joint Request for the Production of
Documents to the United States (the “Rule 34 Request”) pursuant to Fed. R. Civ. P. 34 and the
10/29/02 Order.l On December 19, 2002, the United States filed a Motion for a Protective Order
relating to the Rule 34 Request, which was timely opposed by the plaintiffs. The United States’
reply brief and Plaintiffs’ opposition to the reply brief on the issue were filed on January 21 and
31, 2003, respectively, and the matter was referred to Magistrate Judge Alexander (see Donahue
Paper # 120 (Jan. 8, 2003). To date, the United States has not provided a response to the

Rule 34 requestsz, and to date, no action has been taken by the Court on the matter.

3) The documents sought by plaintiffs’ Rule 34 Request to the United States are the
cornerstone of discovery required by the plaintiffs, and are prerequisites to any further discovery.
With the current qualified immunity discovery deadline, however, the plaintiffs have less than
one month remaining to conduct discovery before the individual defendants are entitled to file
summary judgment motions on qualified immunity. With this deadline in mind, the plaintiffs

have noticed the depositions of each of the individual defendants, plus five non-party witnesses

 

l The plaintiffs have also served Rule 34 requests for production on each of the remaining defendants, have served
Rule 33 Interrogatories on all defendants, and have issued subpoenas to nine various local law enforcement
agencies In terms of documents, the total response to date has been 6 pages.

2 The Govemment has provided some peripheral documents since the opening of discovery, however the core
documents sought, namely the so-called JTF documents, the documents resultant from and gathered in the OPR
investigation of Connolly and Morris, the documents gathered and/or produced to defendants in the related criminal
cases, the informant files of Bulger and Flemmi, and the files on the deaths (and investigations thereof) of the
plaintiffs’ decedents, have all been withheld.

 

 

 

 

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to occur before the deadline of May 1, 2003. Given the large number of defendants, the current
schedule of depositions is one deposition per business day from April 14 to April 30, 2003 (the
day before qualified immunity discovery is to close under the current deadline). See Deposition

Schedule attached as Exhibit C.

4) With 11 days until the first deposition, the plaintiffs do not anticipate having the
necessary documents to take these depositions, which would require a decision from the Court
and a subsequent response of the United States within those 11 days. The plaintiffs, therefore,

propose as follows:

a) The first two scheduled depositions (scheduled for April 14 and 15, 2003) are of
John Durham and Charles Prouty, respectively the head of the Justice Task Force and the former
lead investigator in the 1997 OPR investigation into the activities of John Connolly and John
Morris in their roles as FBI agents. These depositions are anticipated to result in a roadmap to
future discovery, given that these individuals presumably are the most knowledgeable regarding
the information which the United States has with respect to the activities of Mr. €onnolly and
Mr. Morris around which the plaintiffs’ complaints revolve. Given the “roadmap” nature of
these depositions, the plaintiffs anticipate that these two depositions could be conducted with a
more limited number of documents than is requested by their original Rule 34 Request, and
therefore now request those documents essential to these depositions on an emergency basis,
listed in Exhibit A. Plaintiffs understand and believe that these documents have already been

compiled with respect to other legal and administrative actions, and therefore assert that their

 

 

 

 

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production could be expeditious (hlrther, these were among the documents requested four
months ago by plaintiffs). t

b) With respect to the other noticed depositions, including all individual defendants,
the plaintiffs require the full production requested by their original Rule 34 Request, and in any
case, do not anticipate that they will be able to conduct all noticed depositions between the time
of document production and the current qualified immunity deadline. The plaintiffs therefore
request that the deadline for qualified immunity discovery be extended for a reasonable time
beyond the date on which the Court’s decision on the pending United States Motion for a
Protective Order (with respect to plaintiffs Rule 34 Request) (Paper #117, filed November 19,
2002) is issued, and any subsequent and complete production of documents is made by the
Government. This would provide the plaintiffs an opportunity to depose the individual

defendants with a full response to initial discovery.

For these reasons, the plaintiffs respectfully request that this Court enter Orders as

proposed by Exhibits A and B.

!){l,n
Respectfully submitted, this l’ / day of April, 2003, for the collective plaintiffs:

"* CERT|F|CATE OF SERV|CE
l HFIP""Y CERT|FY THAT ON THIS DAY A TRUE

 

Edward T. \i-\IIi=r‘i§l/;ey, Esq.
Christopher . eier, Esq.
SLOANE & WALSH, LLP

3 Center Plaza

Boston, Massachusetts 02108
(617) 523-6010

COUNSEL FOR THE PLAINTIFFS IN EST. OF MICHAEL DONAHUE V. UNITED
STATES ET AL (U.S.D.C., D. MASS.Ol-CV-10433-RCL)

 

 

 

 

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CERTIFICATE OF SERVICE

I, Christopher T. Meier, certify that on the date shown below, I made service of the
foregoing document(s), by causing a copy thereof to be mailed, postage prepaid, to all counsel of

 

CHWT S OPHER T MEIER
Dated: A((L g , 2003
S:\DONAHUE, ESTATE OF ICHAEL V USA-FBl - PE-OOO-5064\p|eadings\DISCOVERY DlSPUTES\Moiion to compel documents (small categories) doc

 

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Exhibit A
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

Civil Action Nos.:

01-CV-10408-RCL
01-CV-10433-RCL
Ol-CV-11346-RCL
02-CV-10464-RCL
02-CV-11312-RCL
02-CV-l 1791-RCL
02-CV-11802-RCL
02-CV-11911-RCL

EST. OF JOHN McINTYRE, et al,
EST. OF MICHAEL DONAHUE, et al,
EST. OF E. BRIAN HALLORAN, et al,
EST. OF ROGER WHEELER, et al,
EST. OF RICHARD CASTUCCI, et al,
EST. OF LOUIS LITIF, et al,
EST. OF WILLIAM BENNETT, et al
EST. OF DEBRA DAVIS, et al.
Plaintiffs,

V.

UNITED STATES OF AMERICA, et al,
Defendants.

(PROPOSED) ORDER RELATING TO THE PRODUCTION OF DOCUMENTS

Having carefully reviewed the submissions of the parties, l hereby ORDER that the
United States shall produce to the plaintiffs, not later than April 11, 2003, the following

documents:

l) Any and all documents produced in discovery to any defendant in the following related
criminal cases: United States v. Salemme, 94-CR-10287-MLW; United States v.
Flemmi, 01-CR-10199-MLW; United States v. Martarano, 97-10009-MLW; United
States v. Connolly, 99-CR-10428-JLT; United States v. Weeks, 99-CR-10371-RGS;
United States v. Weeks 99-CR-10245-RGS; and United States v. Steven Flemmi et al,
l997-CR-10060-REK (the “Rclated Criminal Cases”);

 

2) The Office of Professional Responsibility (FBI) report regarding Mr. Connolly and/or
Mr. Morris issued in or around 1997 or 1998;

3) The file(s) relating to any OPR (FBI or DOJ) investigation of Mr. Connolly and/or Mr.
Morris;

4) The informant files for J ames Bulger (headquarters and field office), respectively FBI
files numbered 137-4075 from the Boston Field office and 137-26543 from FBI
headquarters, and for Steven Flemmi (Boston Field File No. 137-2387 and Headquarters

 

 

 

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File No. 166-7921 and 137-13732, with corresponding so-called sub-A files and “pink

sheets.”
l

5) The FBI files related to the murder and/or death of each of the plaintiffs’ decedents,
including John Mclntyre, Michael Donahue, E. Brian Halloran, Roger Wheeler, Richard
Castucci, Louis Litif, William Bennett, and Debra Davis.

6) FBI-Bostoii file numbers 183-817, 183-84, 88-8668, 92-2309, 182-1018, 183-1018, 62-
5677, and 67-22413, and FBI headquarters file no. 166-7514.

7) Any and all files regarding administrative investigation(s) relating to John Connolly, John
Morris, Lawrence Sarhatt, Robert Fitzpatrick, J ames Ring, J ames Ahearn, and/or H. Paul
Rico.

8) Any prosecutorial declination memoranda relating to considered or proposed

prosecutions of J ames Bulger and/or Steven Flemmi prior to 1985.

9) The tape recordings referred to in Defendant’s Trial Exhibit Y from United States v.

Connolly, 99-CR-10428-JLT.

The United States shall not withhold from the plaintiffs any documents based upon
protective orders entered in any of the Related Criminal Cases. The Honorable District Judge
Mark L. Wolf of this Court has entered an order modifying the protective orders in the cases of
United States v. Salemme, 94-CR-10287, United States v. Flemmi, 01-CR-10199, and Un_ited
States v. Martarano, 97-10009, such that these protective orders do not affect civil discovery in
the instant matter. Similar protective orders entered by Judges Joseph L. Tauro a.nd Richard G.

Steams of this Court in the cases of United States v. Connolly, 99-CR-10428-JLT, United States

v. Weeks, 99-CR-10371-RGS, and United States v. Weeks 99-CR-10245-RGS, were predicated

 

on Judge Wolf’ s order. As I noted in the February 21, 2002 Scheduling Conference in Mclnt)ge,
to the extent that Judge Wolf has opened up his order to allow production of documents in this
case, I find that to be the opening up of both Judge Tauro’s order and Judge Stearn’s order to the

same extent. Furthermore, a protective order has entered in the instant case such as will keep

confidential and under seal the materials produced pursuant to this Order, which is substantially

 

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similar to that entered in United States v. Salemme, 94-CR-10287-MLW. For all these reasons, I
specifically find that the Protective Orders entered in the criminal cases listed in this paragraph
do not affect the production of documents under this Order, and no document shall be withheld
on this basis.

I further hold that no document which has to date been produced to any criminal
defendant in any of the Related Criminal Cases shall be withheld from the plaintiffs for any
reason.

Finally, if any document ordered to be produced under this Order is withheld from the
plaintiffs on the basis of privilege or otherwise, a copy of each such document shall be submitted
to this Court for in camera review, with an identification of the privilege asserted or other
rationale for withholding See 5 U.S.C. § 301; United States v. Nixon, 418 U.S. 683 (1974).
Counsel for the United States should also identify the individual(s) who decided to assert such
privilege, and certify that all documents ordered produced by this Order have been produced
either to the plaintiffs or this Court. The Court will thereafter make individual determinations
with respect to the production of withheld documents

This order shall not be construed to limit the scope of documents to which the plaintiffs

may be entitled under Fed. R. Civ. P. 26 and in the normal course of discovery.

IT IS SO ORDERED.

By the Court,

 

 

 

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Exhibit B

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS"

Civil Action Nos.:

01-CV-10408-RCL
01-CV-10433-RCL
01-CV-11346-RCL
02-CV-10464-RCL
02-CV-11312-RCL
02-CV-11791-RCL
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EST. OF DEBRA DAVIS, et al.
Plaintiffs,

V.

UNITED STATES OF AMERICA, et al,
Defendants.

(PROPOSED) ORDER RELATING TO COMMON ISSUE/OUALIFIED IMMUNITY
DISCOVERY DEADLINE

Having carefully reviewed the submissions of the parties, I hereby ORDER that the
deadline for discovery on the qualified immunity/common issues of the above-captioned related
civil cases, set for May 1, 2003 by October 29, 2002 Order of this Court, Donahue v. United

States et al, 01-CV-10433-RCL (Paper # 97), is hereby extended until days after this
Court renders a decision on the United States Motion for a Protective Order, Donahue v. United
States et al, 01-CV-10433-RCL (Paper # 114) (Dec. 19, 2002). »

IT IS SO ORDERED.

By the Court,

 

Dated:

 

 

 

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EST. OF DEBRA DAVIS, et al.
Plaintiffs,

V.

UNITED STATES OF AMERICA, et al,
Defendants.

Exhibit C

UNITED STATES DISTRICT.COURT
FOR THE DISTRICT OF MASSACHUSETTS

Civil Action Nos.:

01-CV-10408-RCL
01-CV-10433-RCL
01 -CV-11346-RCL
02-CV-10464-RCL
02-CV-11312-RCL
02-CV-11791-RCL
02-CV-11802-RCL
02-CV-11911-RCL

SCHEDULE OF CURRENTLY NOTICED DEPOSITIONS

 

Deponents Date Office
-John Durham (JTF) Monday, April 14, 2003 S&W
- Charles Prouty (OPR) Tuesday, April 15, 2003 S&W
-Jeremiah O’Sullivan Wednesday, April 16, 2003 S&W
-H. Paul Rico Thursday, April 17, 2003 KLH
-Dennis Condon Friday, April 18, 2003 KLH
-Lawrence Sarhatt Monday, April 21, 2003 S&W-
-Robert Fitzpatrick Tuesday, April 22, 2003 S&W
-J ames Greenleaf Wednesday, April 23, 2003 KLH
-J ames Ring Thursday, April 24, 2003 KLH
-J ames Aheam Friday, April 25, 2003 KLH
-Roderick Kennedy Monday, April 28, 2003 KLH
-John Morris Tuesday, April 29, 2003 S&W
-John Connolly Wednesday, April 30, 2003 S&W
- Frank Salemme To Be Rescheduled

-Patrick Nee To Be Rescheduled

-Steven Flemmi To Be Rescheduled

-Kevin Weeks To Be Rescheduled

-John Martarano To Be Rescheduled

 

